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                                     LIST OF EXHIBITS  AND WITNESSES
                                                ID #:51307
 Case Number            CV 85-04544-DMG(AGRx)                 Title        Jenny L. Flores, et al v. Merrick Garland, et al.     Nov 15, 2024
     Judge              Dolly M. Gee, Chief United States District Judge
                                                                                                                                       DD
 Dates of Trial
  or Hearing            November 15, 2024

 Court Reporters        Laura Elias
  or Tape No.

 Deputy Clerks          Derek Davis

                  Attorney(s) for Plaintiff(s) / Petitioner(s)                                    Attorney(s) for Defendant(s) / Respondent(s)

 Diane de Gramont                                                                    Joshua McCroskey, USDOJ
 Mishan Wroe                                                                         Katelyn Masetta-Alvarez, USDOJ
                                                                                     Christina Parascandola, USDOJ




     Plaintiff(s) or Petitioner(s)                Defendant(s) or
                                                  Respondent(s)
                                                                                           EXHIBIT DESCRIPTION / WITNESS                          Called By
  Ex. No.         Id.        Ev.        Ex. No.         Id.           Ev

                                                                                Lillian Serrano                                                  Plaintiff

                                                                               Pedro Rios                                                        Plaintiff

                                                                                Adriana Jasso                                                    Plaintiff
                                                                                Patricia McGurk-Daniel                                           Defendant


                                                                                See attached list of exhibits




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